     Case 3:02-cr-01714-L      Document 558       Filed 09/08/08    PageID.3983      Page 1 of 2



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                                  UNITED STATES DISTRICT COURT
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                               SOUTHERN DISTRICT OF CALIFORNIA
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11   EDRIC CHARLES JORDAN,                        )   Criminal No. 02-CR-1714-L-5
                                                  )
12                        Petitioner,             )   ORDER
                                                  )
13   v.                                           )
                                                  )
14   UNITED STATES OF AMERICA,                    )
                                                  )
15                                                )
                          Respondent.             )
16                                                )
17
18          On February 29, 2008, Petitioner Edric Charles Jordan (“Petitioner”), originally proceeding
19   pro se, filed an untimely motion for relief of sentence pursuant to 18 U.S.C. § 3582(c)(2). The
20   Respondent filed a responsive memorandum on March 18, 2008. On April 30, 2008, Petitioner,
21   with the assistance of counsel, filed a timely motion for relief of sentence pursuant to 18 U.S.C.
22   § 3582(c)(2). Petitioner’s motion was based upon retroactive amendments to the Federal Sentencing
23   Guidelines pertaining to crack cocaine offenses which became effective March 3, 2008. Respondent
24   filed an updated response and opposition, and Petitioner filed a reply. The Court, after reviewing
25   the record, the submissions of the parties, and the supporting exhibits, denied Petitioner’s motion
26   on August 20, 2008. On August 27, 2008, Petitioner timely appealed to the Ninth Circuit. On
27   September 4, 2008, Petitioner then filed a Motion for Reconsideration in the district court
28   concerning the Court’s Order dated August 20, 2008.

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     Case 3:02-cr-01714-L      Document 558       Filed 09/08/08     PageID.3984       Page 2 of 2



 1         The filing of a valid notice of appeal divests the district court of jurisdiction to alter, amend
 2   or modify the order or judgment challenged in the appeal. See Pope v. Sav. Bank of Puget Sound,
 3   850 F.2d 1345, 1347 (9th Cir. 1988). Therefore, Petitioner’s Motion for Reconsideration is
 4   DISMISSED WITH PREJUDICE.
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 6         IT IS SO ORDERED.
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 8   DATED: September 8, 2008
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                                                       M. James Lorenz
10                                                     United States District Court Judge
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